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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

APPLICATION AND AFFIDAVIT OF THE )
UNITED STATES OF AMERICA FOR A_ )
SEARCH WARRANT AUTHORIZING THE) MAGISTRATE NO. /9- ~§f OrvVy\

OPENING OF UNITED STATES ) . (UNDER SEAL)
MAIL PRIORITY MAIL EXPRESS )
PARCEL EK 846097373 US )

|, Justin D. Koble, being duly sworn, do hereby state the following:

1. | am employed as a United States Postal Inspector in the Western
District of Pennsylvania. | have been so employed since July 2014, and am presently
assigned to investigate money laundering and drug trafficking offenses. | have received
training in the detection and investigation of money laundering and drug trafficking. As
part of my duties, | investigate incidents where the United States Mails are used for the
purpose of transporting non-mailable matter, including controlled substances such as
marijuana, cocaine and heroin, in violation of Title 21, United States Code, Sections
841(a)(1),843(b), and 846, and Title 18, United States Code, Section 1716. Previously |
was employed as a state law enforcement officer in the state of Florida from January
2007 through June 2014. During this time | conducted numerous investigations involving

the possession, sale, and manufacture of narcotics. The following information has been

obtained by me personally or has been provided to me by postal employees.

 

 
 

 

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2. | have been involved in the investigation and discovery of drug
contraband and drug proceeds on multiple occasions. | have personally been the affiant
for search warrants which have resulted in the discovery of controlled substances and drug
proceeds. My current assignment to the Pittsburgh Processing and Distribution Center
(‘P&DC”) involves investigating the use of the U.S. Mails by drug traffickers, in which
established drug parcel profiles, surveillance, and drug detection dogs, among other
investigative tools, are utilized.

3. Experience and drug trafficking intelligence have demonstrated that
Priority Mail and Priority Mail Express are commonly used to transport drugs and drug
proceeds because of their volume, reliability, and the time pressures they place on law
enforcement agents to execute a successful controlled delivery.

4. On October 14, 2015, Postal Inspection Service interdiction personnel
in Pittsburgh interdicted the Priority Mail Express parcel bearing USPS tracking number EK
846097373 US, addressed to Faith Desterdick, 3144 Broadway St., PO Box 304, Eureka,
CA 95501, with a return address of Steph Desterdick, 424 S. Pacific Ave., Pgh, Pa
15224. Due to the parcel matching certain characteristics of the established drug profile,
as discussed below, the parcel was pulled from the mail stream for further investigation.

The Priority Mail Express parcel is a white USPS Priority Mail Express box measuring

approximately 12 1/2” x 3 1/8” x 15 5/8”, weighing approximately one pound, 12.8

 

 
 

 

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ounces, and bearing $40.15 in U.S. postage. (A photograph of the label bearing USPS
tracking number EK 846097373 US is attached as Exhibit 1.)

5. The subject Priority Mail Express parcel did not require a signature
for delivery. Signature waivers are commonly used on parcels used in the shipment of
controlled substances and their proceeds. The waivers allow intended recipients to avoid
contact with the delivery employee and/or law enforcement, should the parcel be
suspicious.

6. Through experience gained in drug investigations by Postal Inspectors
and other law enforcement agents, and through information provided by individuals who
have been involved in buying, selling, and shipping drugs by Priority Mail and Priority Mail
Express, the Postal Inspection Service has established a drug profile consisting of
characteristics frequently shared by parcels containing controlled substances and proceeds
mailed through the United States Postal Service. The Pittsburgh office of the Postal
Inspection Service utilizes this profile to screen Priority Mail and Priority Mail Express
parcels received at the P & DC, and to review Express Mail labels retained by the USPS.

7. Among the characteristics of the drug profile possessed by the parcel
that is the subject of this search warrant affidavit is the “source territory” origination of the

parcel. Postal Inspectors, special agents of the Drug Enforcement Administration (DEA),

and other intelligence sources have identified California as a source state for illegal drugs

 

 
 

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flowing into Pennsylvania and a destination state for proceeds from the sale of these illegal
drugs. Training and experience have also shown Priority Mail and Priority Mail Express
are methods commonly used for mailing these proceeds.

8. On October 14, 2015, electronic inquiries of the Clear database were
made for the purpose of confirming the validity of the return address contained on the
subject Priority Mail Express parcel, Steph Desterdick, 424 S. Pacific Ave., Pgh, Pa
15224. The Clear inquiry indicated 424 S. Pacific Avenue is a valid address in the
15224 zip code, however, Steph Desterdick is not known to be associated with the
address. On October 15, 2015, U.S. Postal Inspectors made contact with the owner of
the residence who stated he did not know anyone with the last name Desterdick. The
telephone number provided in the return address of the parcel, (412)805-8942, was
called and found to ring to a fax machine.

9. On October 14, 2015, electronic inquiries of the Clear database were
made for the purpose of confirming the validity of the recipient's address contained on the
subject Priority Mail Express parcel, Faith Desterdick, 3144 Broadway St., PO Box 304,
Eureka, CA 95501. The address was found to be a valid address in the 95501 zip code,
currently associated with UPS Store #2235, a commercial mail receiving agent. On
October 15, 2015, U.S. Postal Inspectors received the application for Box 304 from the

UPS Store. The application indicated the box is currently assigned to Faith Desterdick. A

 

 
 

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criminal history check of Faith Desterdick revealed an extensive criminal history, including
an active arrest warrant for grand theft auto in Hernaodo County, FL, and arrests for
possession of marijuana for sale, sale of marijuana, and possession of a controlled
substance without a prescription. U.S. Postal Inspectors attempted to call the telephone
number provided for the intended recipient on the parcel, (707)443-8028, and found the
telephone number to be out of service. Clear has proven to be reliable in previous
investigations in determining the validity of names and addresses.

10. Through my experience, | know drug shippers will often list a false or
non-existent return address, or use a valid return address with a false sender’s name or
no name, to reduce the possibility of apprehension by law enforcement. A valid recipient's
address is necessary to ensure delivery.

11. Because the instant parcel (Exhibit 1) was found to possess some of
the characteristics of the drug profile, it was subjected to examination by drug canine
“Spencer”.

12. Spencer, a dog trained to detect controlled substances, along with his
handler Pennsylvania State Police Trooper Steve Lucia, was requested to conduct the
narcotics search. Spencer is certified as a drug detection dog for marijuana, cocaine,

heroin, and methamphetamine. Trooper Lucia informed me Spencer has been used in

numerous police searches and in training exercises, and has shown a high proficiency in

 
 

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locating hidden drugs. (Trooper Lucia and Spencer’s qualifications are attached hereto as
Exhibit 2.)
13. On October 14, 2015, Spencer examined the instant parcel (Exhibit 1).
According to Trooper Lucia, Spencer positively alerted to the instant parcel, indicating the
presence of controlled substances within at approximately 8:02 p.m. | know, based on
training and experience, that individuals who regularly handle controlled substances often
leave the scent of controlled substances on the box, contents of the box (including drug
proceeds), and/or other packaging material they handle.
14. Based upon my training, experience, and expertise as a Postal
Inspector, | submit that there is probable cause to search the Priority Mail Express parcel
bearing USPS tracking number EK 846097373 US, for controlled substances, drug
proceeds and other evidence of violations of Title 21, United States Code, Sections 841(a)
(1), 843(b), and 846, and Title 18, United States Code, Section 1716. The above
information is true and correct to the best of my knowledge, information and belief.
ge
Justin D. Koble

U.S. Postal Inspector

Sworn and subscribed to me

this 22nd ~ Bonu 2015

 

United States Magistrate Judge

 

 

 
 

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inspection Service
Label 113, July 1987

  

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Trooper Steven V. LUCIA
Canine “Spencer”
Pennsylvania State Police
Canine Unit

Team K9-57

|, Tpr. Steven V. LUCIA, Badge #8813, am a member of the Pennsylvania State Police. | enlisted in the
Pennsylvania State Police on September 29, 2002. | am currently assigned to the Bureau of Emergency and Special
Operations as a drug detection canine handler. | became a Pennsylvania State Police drug detection dog handler in
December 2008 and am currently assigned to Troop B-Washington.

Beginning in October 2008 | attended and successfully passed a 10-week narcotic detection canine course
conducted by master trainers of the Pennsylvania State Police located in Hershey, PA. At the completion of training
| was assigned to handle Pennsylvania State Police drug detection dog “Spencer” and became Pennsylvania State
Police team K9-57. As a canine team we are required to complete yearly drug detection certifications which all
have been successfully completed. The most recent certification was on October 6, 2014. The certification process
is comprised of numerous searches using a variety of environments and distractions. Canine “Spencer” is a black
Labrador Retriever. “Spencer” is proficient in locating drugs during room/building searches, vehicle searches,
luggage searches, open area searches, commercial motor vehicle searches, and parcel/package searches during
monthly training as well as in the field. “Spencer” is trained and certified to passively indicate to the following
odors and their derivatives:

Marijuana/Hashish
Cocaine Hydrochloride/Cocaine Base
Heroin Hydrochloride

PwWwNnrer

D, |-Methamphetamine Hydrochloride

“Spencer” has been a certified Pennsylvania State Police drug detection dog since December 2008 and has been
involved in numerous drug and currency seizures as part of his duties.

In 2009, “Spencer” was utilized to search 97 vehicles, 21 structures/buildings, 14 schools, 5 luggage scans, 3
parcel scans and 11 cash scans. These utilizations resulted in the seizure of 106,134 grams of marijuana, 28 grams
of cocaine, 51 grams of heroin, 1,554 grams of other drugs, 93 items of paraphernalia, $95,688 in US Currency, and
2 firearms for a total of $1,187,298.00 worth of contraband/assets seized.

In 2010, “Spencer” was utilized to search 127 vehicles, 30 luggage scans, 28 structures/buildings, 8 schools, 6
cash scans and 1 parcel. These utilizations resulted in the seizure of 108,579 grams of marijuana, 1,105 grams of
cocaine, 33 grams of heroin, 146 grams of other drugs, 80 items of paraphernalia, $55,892 in US Currency, 4
firearms, and 3 vehicles for a total of $1,278,002.00 worth of contraband/assets seized.

inspection Service
Exhibit

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Label 113, July 1987

 

 

 
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In 2011, “Spencer” was utilized to search 133 vehicles, 13 structures/buildings, 22 parcels, 8 schools, 3 luggage
scans and 15 cash scans. These utilizations resulted in the seizure of 149,699 grams of marijuana, 1,320 grams of
cocaine, 15 grams of heroin, 69 grams of other drugs, 30 items of drug paraphernalia, 2 vehicles, 2 firearms, and
$461,386 in US Currency for a total of $2,106,756.00 worth of contraband/assets seized.

In 2012, “Spencer” was utilized to search 111 vehicles, 84 parcels, 37 structures/buildings, 13 schools, 1 luggage
scan, and 12 cash scans. These utilizations have resulted in the seizure of 191,175 grams of marijuana, 1,577 grams
of cocaine, 89 grams of heroin, 673 grams of other drugs, 45 items of drug paraphernalia, 6 firearms, and $282,013
in US Currency for a total of $2,381,488 worth of contraband/assets seized.

in 2013, “Spencer” was utilized to search 50 vehicles, 88 parcels, 23 structures/buildings, 12 schools, 11 luggage
scans, 2 cash scans, and 4 open area searches. These utilizations have resulted in the seizure of 234,624 grams of
marijuana, 275 grams of cocaine, 273 grams of heroin, 11 grams of methamphetamines 177 grams of other drugs,
23 items of drug paraphernalia, 4 firearms, 1 vehicle, and $255,689 in US Currency for a total of $2,696,779 worth
of contraband/assets seized.

During my career with the Pennsylvania State Police, | have dealt with a multitude of incidents which have
resulted in numerous arrests and seizures for narcotics and narcotics-related violations both as a primary
investigator as well as an assisting investigator. During my tenure as a Pennsylvania State Trooper, and in addition
to the training listed above, | have received training in the following courses from various Federal, state, local, and
private agencies:

Operation SHIELD
Operation SHIELD II
Desert Snow Phase 1,2,3
Desert Snow Phase 4
Operation 420: Advanced Criminal Interdiction (CMV)
Top Gun Narcotics Investigations
Conducting Complete Traffic Stops
Winning Interdiction
Hidden Compartment Detection

. Looking Beyond the Traffic Stop

. Hotel/Motel/Parcel Interdiction

. Anti-Counterfeiting

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. Interview and Interrogation

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. Forensic Evidence Gathering
. Operation 420: Advanced Criminal Interdiction (PC)
. Sovereign Citizen Training

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